Case 2:05-cr-00192-WFN   ECF No. 313   filed 02/27/08   PageID.1761 Page 1 of 6
Case 2:05-cr-00192-WFN   ECF No. 313   filed 02/27/08   PageID.1762 Page 2 of 6
Case 2:05-cr-00192-WFN   ECF No. 313   filed 02/27/08   PageID.1763 Page 3 of 6
Case 2:05-cr-00192-WFN   ECF No. 313   filed 02/27/08   PageID.1764 Page 4 of 6
Case 2:05-cr-00192-WFN   ECF No. 313   filed 02/27/08   PageID.1765 Page 5 of 6
Case 2:05-cr-00192-WFN   ECF No. 313   filed 02/27/08   PageID.1766 Page 6 of 6
